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                       IN THE UNITED STATES BANKRUCPTY COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION


   IN RE:                              §
                                       §
   WESTMOUNT GROUP, INC.               §                 Case No. 21-30633-HCM-7
   Debtor,                             §                 Chapter 7
                                       §
   ___________________________________ §                 Adv. Proc. No. 22-03004-hcm
                                       §
   BRAD W. ODELL, CHAPTER 7            §
   TRUSTEE,                            §
   Plaintiff,                          §
                                       §
   v.                                  §
                                       §
   KEYVAN PARSA, MD and                §
   TECHROVER, INC.,                    §
   Defendants.                         §
                                       §


     ENTRY OF APPEARANCE AND DEFENDANTS’ RESPONSE TO MOTION FOR
                         DEFAULT JUDGMENT

            Comes now, Gabriel S. Perez, and enters his appearance on behalf of Defendants Keyvan

   Parsa and Techrover, Inc. Defendants, Techrover, Inc. (Techrover) and Keyvan Parsa (Parsa) by

   and through undersigned counsel, hereby answers Plaintiff’s Motion for Default Judgment in the

   captioned matter as follows:

                                          Procedural History

      1. Defendant, Keyvan Parsa, is a member and officer of Techrover, Inc. Defendant Parsa is a

         Defendant in a parallel lawsuit in the 327th District Court still pending and set for trial that

         is comprised of the same factual allegations contained in the Plaintiff’s Original Complaint

         made the basis of the Motion for Default. (see Exhibit A).

      2. Defendant, Techrover, as listed is a duly formed Texas for Profit Corporation and is


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         required to be served independently from any shareholders and officers.

      3. The allegations contained within the Motion for Default revolve around the identical

         nucleus of operative facts that will be contested in a jury trial this fall.

      4. The Defendants will enter an answer to the Complaint once a copy is received from

         Counsel for Plaintiff.



                                       Argument and Authority

      5. Defendants’ response to the Motion for Default Judgment focuses on two legal principles,

         first, the lack of jurisdiction, and second, the general disdain for default judgments.

      6. Generally, federal courts disfavor default judgment as a "harsh" sanction. Because the

         courts favor resolution of disputes based on the merits, default judgment ordinarily is

         available only where a party's failure to respond has thwarted the adversarial process. See

         Smith v. Phamm, 2008 U.S. Dist. LEXIS 47177, *5-6, 2008 WL 2474596.

      7. In this matter, Defendants’ failure to file an answer is not intentional, nor is it intended to

         prejudice the Plaintiff. Undersigned Counsel will file an Original Answer to the Complaint

         once a copy is received and then proceed to investigate and work with Counsel for Plaintiff

         to resolve any claims made.



      WHEREFORE, PREMISES CONSIDERED, Defendants respectfully pray that the Court deny

      the Motion for Default Judgment and allow Defendants to file an Answer to Plaintiff’s

      Complaint.




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                                               Respectfully submitted,

                                               Law Office of Gabriel S. Perez, PLLC
                                               718 Myrtle Avenue
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                                               (915) 444-5351
                                               (505) 671-3836

                                               By: /s/ Gabriel S. Perez
                                                  Gabriel S. Perez
                                                   gabriel@gabrielsperezlaw.com
                                                   NM State Bar No. 138288
                                                   TX State Bar No. 24063580
                                                   Attorney for Defendants




                                 CERTIFICATE OF SERVICE

          I certify that I electronically transmitted the attached document to the Clerk’s Office using

   the CM/ECF system for filing and service to all CM/ECF registrants as listed:

          Brad W. Odell, bodell@mhba.com

          Mullin Hoard & Brown, LLP

          PO Box 2585

          Lubbock, Texas 79408


                                                       /s/ Gabriel S. Perez
                                                       Gabriel S. Perez
                                                       Attorney for Defendants




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                                     EXHIBIT A




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                                                            Register of Actions
                                                             Case No. 2020DCV2997

Albert Flores VS Keyvan Parsa, MD and Montoya Park Place, Inc.              §                        Case Type: Other Contract
                                                                            §                        Date Filed: 09/16/2020
                                                                            §                         Location: 327th District Court
                                                                            §
                                                                            §


                                                              Related Case Information

Related Cases
 2021DCV3555 (Related Case)


                                                                  Party Information

                                                                                                                      Lead Attorneys
Counter         Fidelity National Title Insurance Company                                                             J.Manuel Torre-Rodriguez
Defendant                                                                                                              Retained
                                                                                                                      972-281-0422(W)


Counter         Flores, Albert                                                                                        E.P. BUD KIRK
Plaintiff                                                                                                              Retained
                                                                                                                      915-584-3773(W)


Defendant       Flores, Albert                                                                                        E.P. BUD KIRK
                                                                                                                       Retained
                                                                                                                      915-584-3773(W)


Defendant       Jordan, Deborah                                                                                       RICHARD ROMAN
                                                                                                                       Retained
                                                                                                                      915-351-2679(W)


Defendant       Montoya Park Place, Inc.                                                                              MANNIE KALMAN
                                                                                                                       Retained
                                                                                                                      915-542-1916(W)


Defendant       Parsa, Keyvan, MD


Intervenor      Fidelity National Title Insurance Company                                                             J.Manuel Torre-Rodriguez
                                                                                                                       Retained
                                                                                                                      972-281-0422(W)




Plaintiff       Flores, Albert                                                                                        E.P. BUD KIRK
                                                                                                                       Retained
                                                                                                                      915-584-3773(W)


                                                             Events & Orders of the Court

           DISPOSITIONS
09/16/2021 Order Granted (Judicial Officer: Spieczny, Tom)
              Comment (ORDER GRANTING WESTSTAR TITLE, LLC MOTION TO SEVER / SIGNED 09.16.21 / KMM)

11/22/2021 Notice of Removal (Judicial Officer: Spieczny, Tom)
               Comment (FEDERAL CASE #21-30633-HCM-11 / JA)

04/20/2022 Order for Non-Suit (Judicial Officer: Spieczny, Tom)
              Comment (CROSS-CLAIMS AGAINST WESTSTAR TITILE LLC WITH PREJUDICE/ SIGNED 04.20.22/ CR)


             OTHER EVENTS AND HEARINGS
09/16/2020   Original Petition (OCA)      Index # 1
09/16/2020   E-File Event Original Filing
09/18/2020   Request      Index # 2
09/22/2020   Affidavit    Index # 3
09/24/2020   Citation
                Parsa, Keyvan, MD                                  Served                   10/01/2020
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                                                                      Response Received          10/01/2020
                                                                      Returned                   10/06/2020
09/25/2020   Motion for Appointment of Attorney Ad Litem        Index # 4
10/01/2020   Answer       Index # 6
10/05/2020   Motion to Dismiss            Index # 7
10/15/2020   Amended Petition            Index # 8
10/16/2020   Response         Index # 9
11/23/2020   Amended Petition            Index # 10
11/25/2020   Motion for Temporary Restraining Order               Index # 11
12/01/2020   Notice of Hearing          Index # 12
12/02/2020   Motion for Continuance              Index # 13
12/02/2020   Motion to Withdraw             Index # 14
12/03/2020   Temporary Restraining Order Hearing (3:30 PM) (Judicial Officer Chew, Linda)
12/03/2020   Order Setting Hearing             Index # 15
12/11/2020   Motion for Temporary Restraining Order               Index # 16
12/14/2020   Temporary Restraining Order Hearing (10:30 AM) (Judicial Officer Chew, Linda)
12/15/2020   Motion for Substitute Counsel             Index # 17
12/21/2020   Entry of Appearance             Index # 18
12/22/2020   Amended         Index # 19
01/04/2021   Order for Substitute Service            Index # 20
01/04/2021   Temporary Restraining Order              Index # 21
01/06/2021   Notice of Hearing          Index # 22
01/06/2021   Petition in Intervention           Index # 28
01/11/2021   Order of Assignment
01/14/2021   Answer       Index # 23
01/14/2021   Response         Index # 24
01/15/2021   Temporary Restraining Order Hearing (10:00 AM) (Judicial Officer Chew, Linda)
01/22/2021   Petition in Intervention           Index # 25
01/27/2021   Order for Temporary Injunction             Index # 27
01/29/2021   Request       Index # 26
02/01/2021   Citation
                 Jordan, Deborah                                             Served              02/03/2021
                                                                             Response Received   04/05/2021
                                                                             Returned            02/04/2021
02/03/2021   Answer       Index # 29
02/04/2021   Answer       Index # 31
02/08/2021   Counter Petition         Index # 32
02/16/2021   Answer       Index # 33
02/22/2021   Letter     Index # 34
03/18/2021   Notice of Hearing          Index # 35
04/05/2021   Entry of Appearance             Index # 36
04/05/2021   General Denial        Index # 37
04/12/2021   Motion for Continuance              Index # 38
04/12/2021   Objection       Index # 39
04/15/2021   Order Setting Hearing             Index # 40
04/16/2021   Status Hearing (2:00 PM) (Judicial Officer Chew, Linda)
                 04/15/2021 Reset by Court to 04/16/2021
04/20/2021   Motion to Quash          Index # 41
04/21/2021   Motion to Compel            Index # 42
04/22/2021   CANCELED Status Conference (1:30 PM) (Judicial Officer Chew, Linda)
               Court Coordinator Discretionary Cancellation
04/26/2021   Order to Compel          Index # 44
04/26/2021   Response         Index # 43
04/28/2021   Motion to Reconsider             Index # 45
05/05/2021   Notice of Hearing          Index # 47
05/10/2021   Notice of Hearing          Index # 46
05/18/2021   Status Hearing (11:00 AM) (Judicial Officer Chew, Linda)
05/18/2021   Motion to Reconsider Hearing (11:00 AM) (Judicial Officer Chew, Linda)
05/18/2021   Order Setting Non-Jury Trial            Index # 48
05/27/2021   Entry of Appearance             Index # 49
05/27/2021   Motion to Withdraw             Index # 50
05/28/2021   Motion to Reconsider             Index # 51
06/03/2021   Response         Index # 52
06/04/2021   Notice of Appearance             Index # 53
06/07/2021   Motion for Contempt             Index # 54
06/15/2021   Objection       Index # 55
06/22/2021   Order Permitting Withdrawl of Counsel              Index # 56
06/23/2021   Notice of Hearing          Index # 57
06/23/2021   Notice of Hearing          Index # 58
06/23/2021   Order Granting         Index # 59
06/24/2021   Amended Notice           Index # 60
06/28/2021   Certificate of Written Discovery            Index # 61
07/05/2021   Response         Index # 62
07/08/2021   Motion Hearing (2:00 PM) (Judicial Officer Chew, Linda)
07/08/2021   Reply      Index # 63
07/08/2021   Reply      Index # 64
07/13/2021   Order Setting Hearing             Index # 65
07/14/2021   Judge's Conference (3:30 PM) (Judicial Officer Chew, Linda)
07/14/2021   Notice of Filing       Index # 66
07/15/2021   Order Setting Hearing             Index # 67
07/16/2021   Intervention       Index # 68
07/16/2021   Motion to Vacate          Index # 69
07/27/2021   Amended Petition            Index # 70
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07/28/2021   Response        Index # 71
08/06/2021   Amended Petition          Index # 72
08/06/2021   Jury Demand         Index # 73
08/10/2021   Motion to Compel          Index # 74
08/12/2021   Amended Notice          Index # 75
08/19/2021   Amended Petition          Index # 76
08/20/2021   Response        Index # 77
08/23/2021   Suggestion of Bankruptcy (OCA)              Index # 78
08/24/2021   Pre-Trial Hearing (10:00 AM) (Judicial Officer Chew, Linda)
                09/21/2021 Reset by Court to 08/24/2021
08/24/2021   Order Setting Hearing           Index # 79
09/01/2021   Motion Hearing (4:00 PM) (Judicial Officer Chew, Linda)
09/01/2021   Order Setting Hearing           Index # 80
09/09/2021   Motion for Severance           Index # 81
09/10/2021   Motion for Protective Order           Index # 82
09/10/2021   Notice of Hearing        Index # 83
09/10/2021   Certificate of Written Discovery          Index # 84
09/13/2021   Response        Index # 85
09/13/2021   Motion for Severance           Index # 86
09/14/2021   Statement       Index # 87
09/15/2021   Motion Hearing (10:30 AM) (Judicial Officer Chew, Linda)
09/16/2021   Notice Lifting Stay        Index # 90
09/17/2021   Motion for Contempt          Index # 89
09/20/2021   Notice of Judgment Sent
09/20/2021   Notice of Judgment Sent
09/20/2021   Notice of Judgment Sent
09/20/2021   Notice of Judgment Sent
09/20/2021   Notice of Judgment Sent
09/20/2021   Notice of Judgment Sent
09/20/2021   Order Setting Hearing           Index # 91
09/20/2021   Notice of Hearing        Index # 92
09/20/2021   Objection      Index # 93
09/20/2021   Notice of Hearing        Index # 94
09/22/2021   Notice     Index # 95
09/22/2021   Motion for Continuance            Index # 96
09/22/2021   Motion to Withdraw          Index # 97
09/23/2021   Contempt Hearing (1:30 PM) (Judicial Officer Chew, Linda)
             Result: Appeared
09/23/2021   Order Setting Hearing           Index # 98
09/24/2021   Entry of Appearance          Index # 99
09/24/2021   Returned Mail        Index # 103
09/27/2021   Response        Index # 100
09/27/2021   Response        Index # 101
09/28/2021   Contempt Hearing (3:30 PM) (Judicial Officer Chew, Linda)
09/28/2021   Order Permitting Withdrawl of Counsel             Index # 102
10/13/2021   Returned Mail        Index # 106
10/14/2021   Order for Contempt          Index # 104
10/15/2021   Motion to Withdraw          Index # 105
10/19/2021   CANCELED Bench Trial (10:00 AM) (Judicial Officer Chew, Linda)
               Court Coordinator Discretionary Cancellation
10/21/2021   Motion to Withdraw Attorney (10:30 AM) (Judicial Officer Chew, Linda)
10/26/2021   Order Permitting Withdrawl of Counsel             Index # 107
10/26/2021   Order Setting Hearing           Index # 108
11/01/2021   Motion Hearing (11:00 AM) (Judicial Officer Chew, Linda)
11/29/2021   Suggestion        Index # 110
11/30/2021   Order Remanding (OCA)              Index # 111
01/27/2022   Answer       Index # 112
02/25/2022   Motion for Summary Judgment               Index # 113
03/03/2022   Notice of Hearing        Index # 114
03/04/2022   Amended Petition          Index # 115
03/07/2022   Answer       Index # 116
03/10/2022   Motion for Contempt          Index # 117
03/11/2022   Motion for Continuance            Index # 118
03/30/2022   Notice of Appearance           Index # 119
03/30/2022   Order Setting Hearing           Index # 120
04/05/2022   CANCELED Motion for Summary Judgment (2:00 PM) (Judicial Officer Chew, Linda)
               Cancelled Pending Reset
04/11/2022   Motion for Non Suit         Index # 121
04/12/2022   Notice of Assignment           Index # 122
04/29/2022   Motion to Strike       Index # 123
05/09/2022   Notice of Withdrawal          Index # 124
05/10/2022   Notice of Hearing        Index # 125
05/10/2022   Response to Summary Judgment                 Index # 126
05/10/2022   Response to Summary Judgment                 Index # 127
05/17/2022   Motion for Summary Judgment (3:30 PM) (Judicial Officer Chew, Linda)
05/17/2022   Motion Hearing (3:30 PM) (Judicial Officer Chew, Linda)
05/17/2022   Motion to Withdraw          Index # 128
05/17/2022   Order Setting Hearing           Index # 129
05/23/2022   Order Denying Summary Judgment                 Index # 132
05/24/2022   Status Hearing (11:00 AM) (Judicial Officer Chew, Linda)
05/24/2022   Motion to Withdraw Attorney (11:00 AM) (Judicial Officer Chew, Linda)
05/24/2022   Order Setting Hearing           Index # 130
05/24/2022   Order Setting Jury Trial          Index # 131
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05/25/2022   Order Permitting Withdrawl of Counsel         Index # 133
05/31/2022   Motion to Strike     Index # 134
06/03/2022   Supplement       Index # 135
06/16/2022   Motion Hearing (2:00 PM) (Judicial Officer Chew, Linda)
10/31/2022   Pre-Trial Hearing (9:30 AM) (Judicial Officer Chew, Linda)
11/01/2022   Jury Trial (9:00 AM) (Judicial Officer Chew, Linda)
